Case 2:11-cr-00107-WFN   ECF No. 1166   filed 09/26/12   PageID.4833 Page 1 of 6
Case 2:11-cr-00107-WFN   ECF No. 1166   filed 09/26/12   PageID.4834 Page 2 of 6
Case 2:11-cr-00107-WFN   ECF No. 1166   filed 09/26/12   PageID.4835 Page 3 of 6
Case 2:11-cr-00107-WFN   ECF No. 1166   filed 09/26/12   PageID.4836 Page 4 of 6
Case 2:11-cr-00107-WFN   ECF No. 1166   filed 09/26/12   PageID.4837 Page 5 of 6
Case 2:11-cr-00107-WFN   ECF No. 1166   filed 09/26/12   PageID.4838 Page 6 of 6
